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                             United States District Court
                            Southern District of New York

Virginia L. Giuffre,

               Plaintiff,              Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/




REPLY IN SUPPORT OF NON-PARTY’S MOTION FOR PROTECTIVE ORDER AND
OPPOSITION TO DEFENDANT’S COMBINED MOTION TO COMPEL NON-PARTY
   WITNESS TO PRODUCE DOCUMENTS AND RESPOND TO DEPOSITION
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        Non-party, Sarah Ransome, by and through her undersigned counsel, hereby files this Reply

in Support of Her Motion for Protective Order (DE 640) and Opposition to Defendant’s Combined

Motion to Compel Non-Party Witness to Produce Documents and Respond to Deposition (DE 655).

                                        BACKGROUND

        Non-party Sarah Ransome has already provided significant discovery in this case. She

previously flew from Barcelona to New York, sat for a ten-hour deposition, and produced many

relevant documents. Indeed, witness Ms. Ransome has provided more significant evidence, including

photographic evidence and electronic communications, than Defendant has produced in the two years

she has been litigating this matter. Defendant has not produced a single document prior to 2009 and

not a single photograph, despite testimony that she was an avid photographer of the young girls at

Epstein’s mansions, including taking nude photographs.

        Specifically, and by way of example, non-party Ms. Ransome produced the following types

of highly relevant information about Defendant’s involvement in the sex trafficking and abuse:




   Ransome 00069                               Rmsome 000128

Jeffrey Epstein in 2006 on Little              Various females on Island in 2006 including Nadia.
St. James Island                               Marcinkova




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  Ransome_000131                                   Ransome_000135
Various females on Island in 2006 including        Various females on Island in 2006 including
Nadia Marcinkova                                   Nadia Marcinkova




   Ransome_000138                                Ransome_000141
Defendant on Little St. James Island in 2006   Defendant on Little St. James Island in 2006




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  Ransome_000142                               Ransome_000 148
Defendant on Little St. James Island in 2006 Defendant with Jean Luc Brunel in 2006




  Ransome_0001 52                                   Ransome_0001 54
Various females on Little St. James in 2006        Jeffrey Epstein and male friend in 2006 on Island




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                  CONFIDENTIAL




                             Ransome_000218
          Non-Party Sarah Ransome in 2006 on Little St. James Island




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       Moreover, Ms. Ransome sat for ten hours of deposition and gave critical testimony showing

Defendant’s direct involvement in Epstein’s sex abuse and sex trafficking conspiracy:

Key Testimony          Transcript Citation
Maxwell provided       Ransome Dep. Tr. at 331 (Q. What did Ghislaine say to you? A. I can’t
Ms. Ransome with       remember the specific conversation. But the fact that she helped me refine
massaging training.    my massage skills to satisfy Jeffrey, I think it’s pretty self-explanatory. )
                       Ransome Dep. Tr. at 330 (Q. Does that have something to do with body
                       massages? A. Can you repeat -- let me read the question again. So I
                       would just like to clarify, body massages meant sex, okay? That’s like a
Massage was a key
                       key word for sex. So as soon as you stop having sex with Jeffrey and his
word for sex.
                       friends and his girls, you’re out, because otherwise there’s no reason for
                       you to be associated with Jeffrey, because you’re just there to have sex
                       with him, so...)
The girls were on
                       Ransome Dep. Tr. at 152 (Q. Did you see Natalya having any type of
rotation for the
                       sexual relations with Jeffrey during the trip? A. Yes, I did. Q. When did
purpose of giving
                       you see that? A. I didn’t see it in the bedroom, but we were called on, like,
Epstein sexual
                       a rotation visit for Jeffrey throughout the day and evening.)
massages each day.
                       Ransome Dep. Tr. at 290-292 (Q. So we have Sarah Kellen having a
                       discussion with Ghislaine about girls. *** There was a constant influx of
                       girls. There were so many girls. There were girls in Miami. There were
                       guests coming. There were -- It’s like, I’m sure if you go into a hooker’s
                       brothel and see how they run their business, I mean, it’s just general
                       conversation about who’s going to have sex with who and, you know --
                       what do you talk about when all do you is have sex every day on
                       rotation? I mean, what is there to talk about? *** Q. Apart from general
Maxwell was
                       conversation, do you recall any specifics of any female reporting to
Epstein’s main
                       Ghislaine? A. Yes, I saw. And with my own eyes, I saw how Ghislaine
right-hand woman
                       and Lesley Groff and the other girls reported to them. *** And we were
in 2006-2007;
                       told by Jeffrey Epstein to listen to Ghislaine. So Ghislaine was the main
Maxwell ran the
                       right-hand woman of Jeffrey Epstein. We were told by Jeffrey Epstein to
house like a brothel
                       listen to Ghislaine.)
with girls on
                       ***
rotation for the
                       Ransome Dep. Tr. at 311-312 (Q. And when you say you were on
purpose of giving
                       rotation, you mean you were having sex with Jeffrey multiple times per
Epstein sexual
                       day? A. No. As in when I was finished, another girl was called by
massages each day.
                       Ghislaine. And when they had finished, another girl was called. Q. How
                       do you know that another girl was called by Ghislaine? A. Because I was
                       there, and I saw it and heard it with all my senses. I saw Ghislaine call
                       another girl, and she called me herself, to go give Jeffrey Epstein a sexual
                       massage. Q. What do you mean by call? I guess I’m thinking like
                       telephone. That may be my -- A. No. As in going up to the person and
                       going, Jeffrey wants to see you in his bedroom, which meant it’s your turn
                       to be abused. That kind of thing. Q. And this is on the island? A. This is

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Key Testimony          Transcript Citation
                       on the island. Q. You heard -- as soon as you were done with Jeffrey, you
                       heard Ghislaine go up to another girl and say, it’s your turn with Jeffrey?
                       A. So every single day *** So, I mean, our rotation changed every day
                       that specific trip we had in December. So, for example, I would be called.

                       girl was called,
                                       -
                       Maybe a couple hours when Jeffrey had a little, you know, break, another
                                                 . Then another girl was called. Every single day.
                       We tried to hide on different -- like, so we wouldn’t have to get called.
                       We’d generally have to sit in the main area. There was like a big pool, the
                       main seating area. There was a big table. We’d sit there and do kind of art
                       on the table, and we always had to be around. We weren’t allowed to go
                       very far on the island. We always had to report to Ghislaine and Jeffrey
                       and tell them if we were going down to the beach to swim because they
                       had an inflatable trampoline. So they -- I mean, we always had to tell
                       Ghislaine and Jeffrey where we were at all times.
Kellen reported to     Ransome Dep. Tr. at 289 (A. everyone was afraid of Ghislaine. All the
Maxwell.               girls were afraid of her, so everyone -- Sarah Kellen reported to her.)
                       Ransome Dep. Tr. at 288-290 (Q. You said that the girls reported to
                       Ghislaine. What did you see or hear that caused you to say that? A. Well,
                       it’s pretty obvious. I mean, Ghislaine called the shots. *** So, for
All the girls          example, there was one occasion where Jeffrey didn’t like my hair and
providing sexual       Ghislaine told me to change it. So there was -- everyone was afraid of
massages to Epstein    Ghislaine. All the girls were afraid of her, so everyone -- Sarah Kellen
reported to            reported to her. Lesley Groff reported to her. I don’t know how to tell you.
Maxwell; Maxwell       So when I say reporting, I witnessed with my own two eyes Sarah Kellen
“called the shots.”    reporting to Ghislaine in front of me, but I can’t remember specifics. They
                       were talking about girls. I can’t remember the specific conversation. But
                       every single person 100 percent, 200 percent reported to Ghislaine. 100
                       percent. )
                       Ransome Dep. Tr. at 387 (Q. Apart from what Ms. Malyshev told you, do
                       you have any other basis for knowing that Malyshev reported to Kellen,
Girls were paid to     Groff and Maxwell and was paid for her recruitment of young females,
recruit other girls;   including you? A. What she told me. Q. Apart from what she told you, do
Maxwell was the        you have any other basis for that? A. Well, I saw it with my own eyes. I
main lady.             was a witness. Q. What did you witness? A. I witnessed the same thing
                       all the other girls did, the same thing I had to do, was go and report to
                       Sarah Kellen, Lesley Groff and Ghislaine. Ghislaine was the main lady…)
                       Ransome Dep. Tr. at 287-288 (Q. You said, "Watching her interact with
                       the other girls on the island, it became clear to me that she recruited all or
                       many of them to the island." What do you mean that? A. That she
Maxwell recruited
                       recruited a lot of the girls. Q. What did you see? A. I saw how she
girls to the island;
                       interacted with all the girls. You know, if you walk into any -- I mean,
Maxwell was the
                       common sense wise, if you walk into a firm, you kind of know who the
“mamma bear.”
                       boss is. You know, all the girls kind of reported to Ghislaine. Ghislaine
                       was like the mama bear, if you know what I mean. She called the shots;
                       we had to listen to Ghislaine. And Ghislaine was Jeffrey’s right-hand

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Key Testimony          Transcript Citation
                       woman, so, you know, whatever Jeffrey wanted went through Ghislaine
                       and then filtered through.)
                       Ransome Dep. Tr. at 121-123 (Q. Describe for me what happened on the
                       plane ride? A. Nadia walked in, sat down in front of me, Nataly. We all
                       buckled up, we took off. The rest of the passengers in the -- I think it’s
Ms. Ransome            towards the front of the plane where all the seats are -- we all -- all the
witnessed Epstein      guests were -- fell asleep. I pretended to be asleep. Jeffrey then went --
having sex with        Jeffrey went to his -- was in his bed on the plane, having open sex with
Marcinkova on his      Nadia for everyone to see, on display. ***Q. What types of sexual
plane in plain view.   relationship did Jeffrey and Nadia have on the plane in your presence? A.
                       Well, Nadia was straddling Jeffrey for quite some time. I watched them
                       both ejaculate with each other. They were having quite a good time
                       together.)
                       Ransome Dep. Tr. at 234-235 (Q. Did you apply for any financial aid for
                       FIT? A. No. Jeffrey was covering FIT. Q. That’s what Jeffrey told
Maxwell and
                       you? A. Multiple, multiple times. Q. Did Ghislaine Maxwell say anything
Epstein used
                       to you with regards to FIT? A. It was various conversations. It was
promises to assist
                       known among everyone that I was going to FIT, and Jeffrey -- everyone
Ms. Ransome in
                       knew he was helping me to get into FIT. It was common knowledge. Q.
getting into FIT and
                       You described earlier that Ghislaine was helping review your application
paying for her in
                       and your essay. Was there something else that she was doing to help
return for being
                       you? A. Well, she said she would, but whether she did, I have no idea.
Epstein’s sex slave.
                       She said she would. Whether she made calls, I doubt, because I didn’t end
                       up at FIT. So...)
                       Ransome Dep. Tr. at 332 (A. Well, the fact that she used to personally call
                       me herself to give Jeffrey sexual massages. Not body massages; sexual
                       massages. It should be rephrased. I mean, it was pretty obvious. I mean,
                       the whole weight thing. I tried to swim off the island. I tried to escape
                       from an island during the evening to try and escape from her because if I
                       didn’t lose weight, they would cut me out of their -- financially off. I
                       would lose the place that I was staying at. I would lose my education. You
                       name it. They bullied me with everything, just like they did with the other
Maxwell bullied the
                       girls.)
girls if they didn’t
                       Ransome Dep. Tr. at 333-334 (Q. … What was the threat that was made to
comply with
                       you by Maxwell? A. The fact that I would lose everything that they
Epstein’s sexual
                       promised me. They -- they were really naughty. You know, they took girls
demands.
                       from very underprivileged families. They gave them accommodation, they
                       gave them food, gave them money for transportation, you know, private
                       planes, etcetera, etcetera. So if I didn’t have sex with Jeffrey, I would be
                       homeless and starving in New York, so -- and my dream of getting a full-
                       time education at one of the top fashion institutes in the world would be



                           -
                       diminished. And that’s what he held over my head, exactly like he did
                       with          and the other girls. He was paying for all of their educations.
                       Q. How do you know that? A. Because they were telling me. It was
                       common knowledge amongst all the girls. No other girl would be there

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Key Testimony           Transcript Citation
                        willingly just to have sex with Jeffrey.)
Victoria Secret
                      Ransome Dep. Tr. at 350 (Q. They were supplied to you? A. Yes. All of
outfits were
                      the outfits -- there were clothes that were provided on the island by Jeffrey
provided to the girls
                      Epstein, which were all Victoria’s Secret clothing: bikinis, nightwear. )
on the Island.
                      Ransome Dep. Tr. at 40 (There were two people following me after I
Ms. Ransome
                      came forward to Maureen Callahan. I went to – I walked downstairs. I
testified that she is
                      walked around -- I have a usual routine that I do. In the morning I went
fearful for her life
                      out, I saw the same two people. Later on that afternoon, I saw the same
after coming
                      two people again. I was frightened. I’m frightened for my life, absolutely
forward.
                      frightened. So there you go.)


        Ms. Ransome provided clear testimony as a non-party victim of sex trafficking that her

motivating factor for testifying is to hold her traffickers accountable:

        Q. I’m just asking your understanding.
        A. Nothing’s been promised to me about money.
        Q. Were you seeking money when you authorized this complaint to be filed on
        your behalf?
        A. No. I just wanted a pedophile behind bars, really, and for him to stop abusing
        young girls. Seeing as I’m going to be a parent myself, I can’t really live with
        myself, knowing that there’s a pedophile with my kids on the planet. So as a
        responsible human being, I thought that I would come forward.

See Pottinger Dec. at Exhibit 1, Ransome Dep. Tr. at 324:10 - 325:21.

        Non-party Ms. Ransome further testified during her deposition about her motivation in

coming forward and speaking openly: “I wanted to tell my story, and I want to run a campaign in

which all the girls that have been abused by Ghislaine and Jeffrey can come forward. And I

wanted to run a campaign with the New York Post to get these girls to have the courage to come

forward, because I know a lot of them are frightened like myself.” See Pottinger Dec. at Exhibit 1,

Ransome Dep. Tr. at 39:19 to 40:22.

        Despite this straightforward and commonsense explanation, Defendant uses her briefing to

repeatedly suggest that non-party Ms. Ransome is motivated by “money” and that she “fabricated”

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her story. From this dubious premise, Defendant then argues that Ms. Ransome should therefore be

punished by having to make burdensome and invasive disclosures of such things as her boyfriend’s

cell phone number and information from her current bank account. Unwilling to confine her attacks

to Ms. Ransome, Defendant then levels attacks on the professionalism of Ms. Giuffre’s legal counsel,

stating in her brief: “One can hardly imagine a better motive to fabricate testimony that the type of

lottery win. To make it even better, there is no purchase price for the ticket, because the people who

want the testimony are willing to front the cost of the litigation either on a contingency or pro-bono

basis.” Defendant’s Combined Motion at 7. Any suggestion of “fabrication” is directly refuted by

the multiple pictures and e-mails non-party Ms. Ransome produced – documentary evidence that

Defendant fails to discuss in her brief. Moreover, non-party Ms. Ransome is identified as a passenger

on Epstein’s own flight logs: _______________________________________________________




       Non-party Ms. Ransome’s fulsome production included items such as multiple e-mails with

Sarah Kellen, a known key conspirator and recruiter of females, and Leslie Groff, Defendant’s other

co-conspirator who was also named in the non-prosecution agreement. These e-mails are direct

evidence of the trafficking of females for the purpose of sex, and the use of fraud and manipulation to

accomplish that purpose. Ms. Ransome also produced numerous photographs of her travels to

Epstein’s Little Saint James Island, which unequivocally establish Defendant’s presence during the

years that she swore under oath that she was hardly around. Ms. Ransome’s testimony proves that

what little Defendant did say during her deposition was far from the truth.

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       These documents do not lie, and moreover make it abundantly clear that Defendant was far

from truthful during her deposition when she denied being a part of Epstein’s sexual abuse

conspiracy. Rather than engage Ms. Ransome’s allegations on the merits, Defendant responds with

technicalities. For example, Defendant attempts to suggest that Ms. Giuffre’s counsel was not diligent

in disclosing Ms. Ransome. Yet if there was any failure of disclosure here, it was entirely

Defendant’s failure. Clearly, witness Ms. Ransome is someone who has relevant evidence in this

case, as her many photographs, e-mails, and other documents undoubtedly establish. And yet

Defendant failed to disclose Ms. Ransome’s existence not only in her Rule 26 disclosures, but also

through (to put it mildly) her inaccurate testimony during her deposition. As a result, Ms. Giuffre’s

legal counsel did not learn of Ms. Ransome’s existence and whereabouts until November.

Furthermore, as Ms. Giuffre’s counsel informed the Court, it was not until the first week in January

that non-party Ms. Ransome was able to meet with counsel in person in Barcelona. Ms. Giuffre’s

counsel was not going to petition to bring a new witness before this Court without conducting

complete due diligence to assure that her testimony was credible. As soon as that in-person meeting

was accomplished in early January, Ms. Giuffre filed the appropriate papers with this Court and

immediately offered to make Ms. Ransome available to Defendant for a deposition. After first

delaying in taking that deposition, Defendant then made this victim of sex trafficking, who had flown

to the United States from Barcelona, sit for ten hours at a deposition and be subject to harassing


-
questions.




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                                         ARGUMENT

       In light of non-party Ms. Ransome’s diligent efforts to satisfy Defendant’s needs for

discovery, the Court should enter a protective order against further discovery (DE 640) and deny

Defendant’s Combined Motion to Compel1 (DE 655).

       As explained in Non-Party Ransome’s Motion for Protective Order, Defendant should not

be allowed to use the discovery process as a means of intimidating and harassing a non-party.

Counsel is not permitted to intentionally harass or embarrass a non-party witness during a

deposition. See Smartix International LLC v. Garrubbo, Romankow & Capese, No. 06 CIV 1501

(JGK), 2007 WL 41666035 at *2 (S.D.N.Y Nov. 20, 2007) (court protecting deponent from

annoyance, embarrassment and harassment by denying party’s attempt to obtain personnel

records relating to non-party).

       Courts are more vigilant with these protections when the discovery is being sought from a

non-party. “[T]he fact of non-party status may be considered by the Court in weighing the

burdens imposed in the circumstances.” Katz v. Batavia Marine & Sporting Supplies, Inc., 984

F.2d 422, 424 (Fed.Cir.1993); accord Amini Innovation Corp. v. McFerran Home Furnishings,

Inc., 300 F.R.D. 406, 409 (C.D. Cal. 2014); see also Dart Industries Co., Inc. v. Westwood


1
  In her Motion to Compel, Defendant failed to comply with Local Rule 37.1 and only inserted
selected text from certain objections. Rule 37.1 requires: “upon any motion or application
involving discovery or disclosure requests or responses under Fed. R. Civ. P. 37, the moving
party shall specify and quote or set forth verbatim in the motion papers each discovery request
and response to which the motion or application is addressed.” For all of the discovery items
upon which Defendant moves, Defendant has wholly failed to do this. Upon a motion to compel,
a court is called upon to evaluate the discovery requests as well as the responses and objections.
Local Rule 37.1 is designed to protect against the exact type of self-serving omission of the
responding party’s objections that Defendant has done in her brief. Accordingly, the Court
should deny Defendant’s motion in its entirety for failure to comply with Local Rule 37.1. See
Blodgett v. Siemens Industry, Inc., 2016 WL 4203490, at *1 (E.D.N.Y. 2016) (denying motion
without prejudice for failure to comply with Local Rule 37.1 (which is the same rule in the
Eastern District of New York)); see also Pottinger Dec. at Exhibit 2, Non-Party Sarah Ransome’s
Responses and Objections to Defendant’s Subpoena Requests.
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Chemical Co., 649 F.2d 646 (9th Cir. 1980) (“While discovery is a valuable right and should not

be unnecessarily restricted, the ‘necessary’ restriction may be broader when a non-party is the

target of discovery.”).

       Courts have routinely denied the discovery of non-parties when it is clear that the purpose

is to obtain personal information for intimidating or harassing the witness. See DaCosta v. City

of Danbury, 298 F.R.D. 37 (D. Conn. 2014) (protective order granted with respect to personal

information of nonparties, including home addresses, email addresses, phone numbers, dates of

birth, children’s names, financial account numbers, and social security numbers).

       Despite Ms. Ransome’s robust production, Defendant comes before this Court to seek

additional information solely for the purpose of harassing and intimidating this witness.

Defendant’s onerous subpoena contained thirty (30) separate categories of requests.

Nevertheless, Ms. Ransome produced the documents she had and sat in a deposition for over ten

hours with Defendant’s counsel. In fact, Ms. Ransome testified that she had produced all of the

photographs and documents that she has that relate to Defendant and Epstein.

Ransome 02/17/17 Dep. Tr. at 364:17 to 367:6
Q. Okay. If I could have you turn to A. Mm-hmm.
the last three pages, where it says
"Documents to be Produced."
Q. Have you seen that list before?        A. Yes, I have.
Q. Did you conduct a search of            A. Yes, I believe that I produced every single document
your records to produce documents?        I can.
Q. After looking at this list, did you go A. As I said, I looked at everything I had during that
back and look through your time frame and I produced everything I can during that
photographs in Barcelona?                 time frame that I was with Jeffrey.
Q. Just tell me what you did in           A. Okay. So I went through a box of about over 5,000
order to make sure you had produced       photos that I had, and I went through every single photo,
everything that was called for in this    every single disk, everything that I had. I went through
list.                                     all my emails. I tried to look for the BlackBerry sim
                                          card, which I had hoped that I had kept, which had all
                                          Ghislaine’ s messages on and Jeffrey’s and Lesley’s,
                                          and stupidly I misplaced that, which is really annoying.
                                          But I myself, you know, considering my objective is to
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                                         get these people and get justice for the abuse that

                                       Ghislaine caused me – and Jeffrey -- I have given as
                                       sufficient evidence that I have.
Q. Did you look for all photographs A. Yes.
taken by you or containing any image
of you at or near any home, business,
private vehicle or any other property
owned or controlled by Jeffrey
Epstein, as indicated in paragraph 7?
Q. Likewise in paragraph 8, did you A. Yes.
look for any photographs that depict
any home, business, private
vehicle or any other property owned or
controlled by Jeffrey Epstein?
Q. And you did that after reviewing A. Yeah, I mean, I received the list and I’ve complied
this list of documents?                with everything. I have given absolutely everything
                                       that I can to you guys.
Ransome 02/17/17 Dep. Tr. at 370:16 to 370:18
Q. Where are these photographs?        A. I have given all the photographs to my lawyers.
Ransome 02/17/17 Dep. Tr. at 371:9 to 371:13
Q. Were there photographs of other A. I have given all the photos that I have.
people taken around the same time that
you have?
Ransome 02/17/17 Dep. Tr. at 371:14 to 371:19.
Q. In other words, if you were         A. I provided every single photograph that I have.
messing around with Simona at this
time and there’s a photo of Simona
that you have, did you provide that?




Ransome 02/17/17 Dep. Tr. at 379:9 to 380:13.
Q. Okay. So you believed that
you produced six emails of
                                       ***
conversation between yourself and
Natalya Malyshev?
                                       A. Yeah, I collected all -- all -- everything I had, I gave
***
                                       to my lawyers.
Q. Okay. So you believe you gave six A. Yes, I gave all my evidence.
emails between yourself and
Natalya Malyshev to your attorneys?



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Ransome 02/17/17 Dep. Tr. at 382:14 to 386:16.
Q. So did you produce the                 A. I’ve given all my email correspondence to my
February ‘04, ‘07, 4:01 p.m. email        lawyers.
from yourself to Nataly Malyshev to
your attorneys?
Q. Did you give that email to your A. I’ve given all my emails to my lawyers.
lawyer?
Q. Okay. The next email down              A. Mm-hmm.
says "Sarah Ransome, February 5,
2007, at 10:09 p.m." - Can you read
the text of that email on this
document?
Q. What does the 10:09 p.m. email A. As I’ve specified before, this is a screenshot2, okay,
say?                                      of the actual Yahoo email. This is a screenshot. So
                                          technically I can’t read that anyways, seeing as it’s a
                                          screen shot.
                                        ***
Q. Did you search your Inbox for A. I did. I wanted to be thorough with my research, so I,
documents responsive to the               during that time frame, went through every single email.
subpoena that I showed you a little
while ago?
Q. You went through each one?             A. I went through all of my emails to make sure I gave
                                          all my evidence to my lawyers.
Q. Did you search for keywords or did A. I read each email.
you just read each email?
Q. And did you print out each email?      A. I didn’t print out. I saved them to a USB stick.
Q. All of them or just the ones that you A. Just the ones that were for -- just anything related to
thought were needed?                      Jeffrey, I sent over.

I.     NON-PARTY RANSOME HAS PRODUCED DOCUMENTS OF AND DOES NOT
       HAVE DOCUMENTS FOR A NUMBER OF REQUESTS.

Defendant’s Motion to Compel3 is misleading because it suggests that non-party Ms. Ransome

refused to produce documents in response to all thirty categories in the subpoena. That is



2
  Ms. Ransome produced both screen shots and the associated emails. Defendant asked about the
screenshots during the deposition, rather than about the supplemental production of the actual
emails. Defendant also requested additional pieces of the email chains which non-party Ransome
has provided the Defendant the additional pieces of the email chains to the extent they were
responsive to the Defendant’s subpoena.
3
  Defendant also requested a copy of the CD of photographs that non-party Ms. Ransome already
produced in hard copy. A copy of said CD has been made and sent to Defendant.
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incorrect. To be clear, Ms. Ransome produced documents, or responded that no documents exist,

to Requests 1, 2, 3, 4, 5, 6, 7, 8, 9, 11, 13, 14, 20, 23. Request 24 was withdrawn by Defendant

and non-party Ransome does not have any documents responsive to Request 26. As to the

remaining requests:

   !    Request 12 – Ms. Ransome testified that she does not have any credit card receipts,
        cancelled checks, or documents reflecting travel from 2006-2007, other than what she has
        already produced. See Pottinger Dec. at Exhibit 1, Ransome Tr. at 367, 402-403.

   !    Request 15 - She testified that she does not have any documents reflecting the money
        paid to her by Jeffrey Epstein (she was paid in cash). See Pottinger Dec. at Exhibit 1,
        Ransome Tr. at 151-152, 415.

   !    Request 16 - She testified that she was given cash by Epstein during the years 2006-2007
        while she was being trafficked by Defendant and Epstein. See Pottinger Dec. at Exhibit 1,
        Ransome Tr. at 415-416.

   !    Request 17 - She testified that she lived in Epstein’s apartment and thereafter lived with a
        male friend, but she does not have any leases, deeds, or rental agreements for 2006-2007..
        See Pottinger Dec. at Exhibit 1, Ransome Tr. at 76-78, 228-229.

   !    Request 19 – Ms. Ransome produced a copy of her FIT essay but testified that she does
        not believe she has the application but Jeffrey Epstein or the Defendant likely have a
        copy because they claimed to be assisting her with the application and submission
        process for FIT). See Pottinger Dec. at Exhibit 1, Ransome Tr. at 171-172, 179-180.

   !    Request 21 – Ms. Ransome testified she did very little modeling because she wasn’t
        successful at it and has no documents relating to her modeling) See Pottinger Dec. at
        Exhibit 1, Ransome Tr. at 82, 85, 112-113, 216, 415.

   !    Request 25 - She testified she has not had any communication with law enforcement. See
        Pottinger Dec. at Exhibit 1, Ransome Tr. at 183-184, 189.

   !    Request 27 - She testified that she has never written a book or any similar writings about
        her time with Defendant. See Pottinger Dec. at Exhibit 1, Ransome Tr. at 9, 12-13, 35-38.

   !    Request 28 - Defendant already has her civil complaint in Jane Doe 43, and Ms.
        Ransome already testified that she is involved in that litigation.

   !    Request 30 – Ms. Ransome testified that she does not have a current account on Twitter
        or any other social media platform, and does not have the information for any for the
        years 2006-2007. See Pottinger Dec. at Exhibit 1, Ransome Tr. at 61.


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II.    DEFENDANT’S SUBPOENA SEEKS DOCUMENTS SOLELY FOR THE
       PURPOSE OF INTIMIDATING AND HARASSING THIS NON-PARTY
       WITNESS

       Request 10 (Current Passport/Current Visas):

       As to Request 10, Ms. Ransome produced her passport during the time that she was being

trafficked by Defendant and Epstein. She does not have Visas from that time period, as she

testified. Non-party Ms. Ransome should not have to produce her current passport, and

Defendant has given no good faith reason for why she should have to.

       The remainder of Request 10 is overly broad, seeking “all communications regarding any

of Your passports, visas, visa applications or to her permissions to live, work or study in a

foreign country for the years 2005 – present.” What is responsive and relevant to this case - the

passport she held during the years 2006 and 2007 - has been produced. The reminder is simply

being sought in order to learn the patterns of Ms. Ransome’s travel for purposes of harassing and

intimidating her.

       Request 18 (Current Driver’s License):

       Despite non-party Ransome having produced her passport showing her travel during the

period she was being trafficked by Defendant and Epstein, Defendant seeks a “copy of her

current driver’s license.” Non-party Ransome is already fearful for her life and has been

followed at least once since she disclosed the abuse she endured at the hands of Defendant and

Epstein. Obtaining a copy of this non-party’s current driver’s license is solely for the purpose of

harassing and intimidating her and should not be permitted. The evidence that is relevant to the

claims from 2006-2007 has already been produced, including the copy of her passport.

       Request 29 (Current Bank Statement, Paycheck, Credit Card Statements):

       Non-party Ransome testified that she is presently unemployed and is living with her

boyfriend. Nevertheless, Defendant insists on moving to compel highly personal financial

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information from this non-party as set forth in Request 29: “A copy of your most recent

paycheck, paycheck stub, earnings statement and any bank statement, credit card statement and

any document reflecting any money owed by you to anyone.” This type of current financial

information is only being sought for the improper purpose of embarrassing, intimidating, and

harassing this non-party. See DaCosta v. City of Danbury, 298 F.R.D. 37 (D. Conn. 2014)

(protective order granted with respect to personal information of nonparties, including home

addresses, email addresses, phone numbers, dates of birth, children’s names, financial account

numbers, and social security numbers).

        Request 22 (All Modeling Contracts Signed or Entered into By You):

        Non-party Ransome provided testimony that she did very little modeling while in New

York because she was not successful at it, and she also testified that it was mostly freelance

modeling. See Pottinger Dec. at Exhibit 1, Ransome Tr. at 82, 85, 112-113, 216, 415. Despite

receiving this testimony, Defendant is now insisting that she conduct a search for any modeling

contract that Ms. Ransome has signed and produce them. This search is solely for the improper

purpose of embarrassing, harassing, and intimidating this non-party witness, and should be


-
precluded.

        Accordingly, non-party Ransome objects to these Requests which are only being sought

for the purpose of harassing and intimidating this non-party witness, and requests that the Court

protect her from this clearly, highly personal and harassing discovery.

III.    DEFENDANT SHOULD BE PRECLUDED FROM ASKING ANY ADDITIONAL
        DEPOSITION QUESTIONS THAT ARE SOLELY MEANT TO EMBARRASS,
        INTIMIDATE AND HARASS THIS NON-PARTY.

        Defendant had Ms. Ransome present for a deposition for over ten hours with breaks,

ensuring that Defendant got a full seven (7) hours of tape time as provided by the Rules. Despite

this, Defendant seeks to compel Ms. Ransome to sit for additional questions. The following are
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the categories of deposition testimony that Defendant seeks for which non-party Ms. Ransome

contends are sought only for the purpose of harassment and intimidation:

       !   Current paycheck records and other banking records. Defendant has now added to
           this that she wants her boyfriend’s current income and financial position since non-
           party Ms. Ransome testified that she is living with her boyfriend. See Pottinger Dec at
           Exhibit 1, Ransome Dep. Tr. at 8-9, 13-14.

       !   Boyfriend’s cell phone number. See Pottinger Dec at Exhibit 1, Ransome Dep. Tr. at
           27-28.

       !   Her parent’s current address information. See Pottinger Dec at Exhibit 1, Ransome
           Dep. Tr. at 14.

       !   Communications that non-party Ms. Ransome testified she recalls having with a
           reporter in the fall of 2016. See Pottinger Dec at Exhibit 1, Ransome Dep. Tr. at 37-
           43, 386-388.

       !   Privileged communications with Alan Dershowitz when he was meeting with Ms.
           Ransome about a legal matter. See Pottinger Dec at Exhibit 1, Ransome Dep. Tr. at
           182-186.

       !   Her partner’s occupation. See Pottinger Dec at Exhibit 1, Ransome Dep. Tr. at 13-14.

       !   What hotel Ms. Ransome was staying at in New York for her deposition. See
           Pottinger Dec at Exhibit 1, Ransome Dep. Tr. at 30-34.

       !   Whether Alan Dershowitz contacted anyone on Ms. Ransome’s behalf. See Pottinger
           Dec at Exhibit 1, Ransome Dep. Tr. at 199.

       !   Her stepmother’s phone, e-mail address and physical address – despite the fact that
           non-party Ms. Ransome already gave testimony at her lengthy deposition that she
           does not have her stepmother’s contact information. See Pottinger Dec. at Exhibit 1,
           Ransome Dep. Tr. at 239-240.

       !   When Ms. Ransome provided her photos to her lawyer. See Pottinger Dec. at Exhibit
           1, Ransome Dep. Tr. at 363.

       Ms. Ransome testified that she believed that Alan Dershowitz had been retained to be her

lawyer in a legal matter that she was having. Accordingly, counsel objected on privilege grounds

when Defendant’s counsel attempted to obtain specifics about those meetings. In addition,

Defendant attempted to obtain privileged and work product information about Ms. Ransome’s
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meetings with her counsel in this matter. As the Court can see, the other questions relate to a

number of personal family information that a non-party witness should not be required to

disclose, particularly when she has a justified fear of Defendant and Jeffrey Epstein. Defendant

also requests documents relating to Ms. Ransome’s testimony that she recently had conversations

with a reporter when she was trying to encourage other victims of Defendant and Epstein to

come forward with their stories. After giving fulsome testimony on this topic, Defendant is now

demanding that Ms. Ransome conduct a search for documents relating to this reporter. Again,

non-party Ms. Ransome has produced a significant amount of discovery and has given her

testimony and she should not be forced to undertake an additional burden. Finally, prying into

her current personal financial information or her boyfriend’s personal financial information

should not be condoned. Simply put, all of these categories above for which Defendant seeks

additional testimony have nothing to do with this action and are being sought solely to

embarrass, harass, and intimidate this non-party, which should not be condoned.

IV.    NON-PARTY MS. RANSOME SHOULD NOT BE FORCED TO INCUR THE
       BURDEN AND EXPENSE OF PRODUCING A PRIVILEGE LOG.

       Despite being given less than seven days to respond to Defendant’s subpoena and

produce documents, Defendant also wrongly demands that this non-party undertake the burden

and expense of producing a privilege log. New York law protects non-parties from the

significant burden and expense of producing a privilege log. “The burden on the party from

which discovery is sought must, of course, be balanced against the need for the information

sought.” Wells Fargo Bank, N.A. v. Konover, 2009 WL 585434, at *5 (D. Conn. Mar. 4, 2009)

(denying Rule 45 motion to compel production of documents from non-party). “In performing

such a balance, courts have considered the fact that discovery is being sought from a third or

non-party, which weighs against permitting discovery.” Tucker v. Am. Int’l Grp., Inc., 281


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F.R.D. 85, 92 (D. Conn. 2012) (finding request for production on non-party - including creation

of privilege log - too burdensome); see also Medical Components, Inc. v. Classic Medical, Inc.,

210 F.R.D. 175, 180 n.9 (M.D.N.C. 2002) (“the court should give special weight to the unwanted

burden thrust upon non-parties when evaluating the balance of competing needs.”)). “Within this

[Second] Circuit, courts have held nonparty status to be a ‘significant’ factor in determining

whether discovery is unduly burdensome.” Tucker, 281 F.R.D. at 92 (citing Solarex Corp. v.

Arco Solar, Inc., 121 F.R.D. 163, 179 (E.D.N.Y. 1988) (status as non-party “significant” factor

in denying defendant’s discovery demand)).

       Ms. Ransome is a victim of sex trafficking who bravely came forward to help another

victim of abuse. She is not a large corporation with a team of in-house lawyers. In these

circumstances, imposing the burden of producing a privilege log on this non-party is inherently

unfair. A non-party is not required to undertake the burden of filing a privilege log. Defendant is

only seeking to try to have this Court force non-party Ms. Ransome to produce a privilege log in

this matter to impose additional burden on Ms. Ransome.

       In addition, Defendant wrongly argues that she is entitled to any communications and

witness interviews between Ms. Giuffre’s lawyers and non-party Ms. Ransome. It is well settled

that documents relating to witness interviews are protected by the work product privilege. In

addition, Defendant wrongly argues that she is entitled to any communications and witness

interviews between Ms. Giuffre’s lawyers and non-party Ms. Ransome. See William A. Gross

Const., Assoc., Inc. v. Am. Mfrs. Mut. Ins. Co., 262 F.R.D. 354, 359 (S.D.N.Y. 2009) (upholding

work-product privilege, finding doctrine “‘extends to notes, memoranda, witness interviews, and

other material’” created in preparation for litigation and trial (emphasis added) (internal citation

omitted)). Indeed, “protection of witness interviews has been one of the focuses of the attorney



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work-product privilege since its inception in American law.” Gerber v. Down E. Cmty. Hosp.,

266 F.R.D. 29, 31 (D. Me. 2010) (citing Hickman v. Taylor, 329 U.S. 495, 497, 510–11, 67 S.

Ct. 385, 91 L.Ed. 451 (1947)). Courts have continuously found an attorney’s communications

and notes of witness interviews to be privileged work product. See, e.g., City of Pontiac Gen.

Employee’s Ret. Sys. v. Lockheed Martin Corp., 2012 WL 4202657, at *1 (S.D.N.Y. Sept. 18,

2012) (denying motion to compel, upholding work-product privilege with respect to witness

interviews and accompanying notes, emails, and memoranda); United States v. Jacques

Dessange, Inc., 2000 WL 310345, at *3 (S.D.N.Y. Mar. 27, 2000) (finding notes of witness

interviews to be core work product); S.E.C. v. NIR Grp., LLC, 283 F.R.D. 127, 134 (E.D.N.Y.

2012) (work product privilege applied to interviews – along with accompanying notes and

memoranda - conducted by attorney); Buck v. Indian Mountain Sch., 2017 WL 421648, at *7 (D.

Conn. Jan. 31, 2017) (“the disclosure of witness interviews and documents related thereto, is

‘particularly disfavored’” (quoting Upjohn Co. v. United States, 449 U.S. 383, 399 (1981))).

V.     NON-PARTY MS. RANSOME HAS PRODUCED DOCUMENTS RELEVANT TO
       JANE DOE 43.

       Defendant also claims that non-party Ms. Ransome has not produced all documents

covered in the subpoena that relate to Jane Doe 43 v. Jeffrey Epstein, Ghislaine Maxwell, Sarah

Kellen, Lesley Groff and Natalya Malesheve, Case Number 1:17 – cv-0016-JGK, which involves

a claim under the sexual trafficking statute. Regarding the Jane Doe 43 documents, Ms.

Ransome testified that she produced everything that she had that relates to Defendant. See Chart

supra. The case law is clear that a party cannot use the subpoena power in this litigation to gather

discovery for a different litigation which is exactly what Defendant is trying to do here. See Liz

Claiborne, Inc., v. Mademoiselle Knitwear, Inc., No. 96 CIV 2064 (RWS), 1997 WL 53184 at *5

(Sweet, J.) (S.D.N.Y. Feb. 10, 1997) (this Court limiting deposition questioning of party because

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relevance of the questions were tenuous at best and appeared to be directed at improperly

gathering information for a different lawsuit); Night Hawk Limited v. Briarpatch Limited, No. 03

CIV. 1382 (RWS), 2003 WL 23018833 (S.D.N.Y. Dec. 23, 2003). Irrespective of this case law

that says a party should not wrongfully seek a non-party’s documents for use in a different

matter, non-party Ms. Ransome did produce the documents that she has that relate directly to

Defendant and Epstein as she testified.

                                          CONCLUSION

       Non-party Ms. Ransome respectfully requests that this Court grant her protection from

having to produce any additional discovery or sit for any additional deposition testimony (DE

650). Non-party Ms. Ransome also respectfully requests that the Court deny Defendant’s

Combined Motion to Compel (DE 655).

Dated: March 7, 2017

                                              Respectfully Submitted,



                                          By: /s/ J. Stanley Pottinger

                                               J. Stanley Pottinger (Pro Hac Vice)
                                               Counsel for Sarah Ransome




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 7th of March, 2017, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system. I also certify that the

foregoing document is being served this day on the individuals identified below via transmission

of Notices of Electronic Filing generated by CM/ECF.

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